                                                     _________________________________

   Case 2:07-cr-00143-SRC             Document 165            Filed 07/12/10               Page 1 of 1 PageID: 967
                                  UNITED   STATES    DISTRICT            COURT
                                       DISTRICT OF            NEW   JERSEY


Crim,    No.        07-00143
UNITED    STATES       OF AMERICA v.        David Ariste
                                              Defendant

PETITION       FOR   WRIT    OF   HABEAS    CORPUS:           Your      petitioner               shows   that


1.   David Ariste,           SBI *1567840,         D.O.B.                              ,    is now confined in
NJ STATE PRISON.

2.   David Ariste, a defendant in the captioned case, will be required
at the United States District Court in Newark, NJ on Thursday, July 8,
2010 at 10:00 a,m. for a Sentencing before Hon. Stanley R. Chesler.

3.   Accordingly, this individual will be picked up at the NJ STATE
PRISON by FBI Special Agents and will be taken out of that facility on
Thursday, July 8, 2010 at 10:00 a.m. and will be returned to the NJ
STATE PRISON by those same law enforcement officials later that same
day,    following his        appearance       in   federal          court     in the             above-captioned
case.    A Writ       of    Habeas    Corpus      should be          issued        for          that   purpose,

DATED:     July 8,         2010                     /s/ Melissa L. Jampol
                                                    Melissa L. Jampol
                                                    Assistant United States Attorney
                                                    Petitioner   973-645-3987
                                                                          -




ORDER FOR WRIT:            Let the Writ Issue.

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DATED
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              I I                                   HO STANLEY R. CFLER
                                                   UNITED STATES DIS%C.-.JE-—

WRIT OF HABEAS CORPUS:

The United States of America to the Warden of the NJ STATE PRISON.
We Command You that you have the body of David Ariste, SBI *1567840,
D.O.B.            (by whatever name called or charged) available to be
picked up and removed by law enforcement personnel, and that the
above-referenced inmate shall be returned to the NJ STATE PRISON
immediately  upon   completion   of the   proceedings  involving  this
individual referenced above, and that he will be returned to said
place of confinement in safe and secure conduct.

WITNESS the Honorable Stanley R. Chesler
United States District Judge at Newark, N.J.




DATED                                             WILLIAM T  WALSH
          j                                       Clerk of the U.S. District Court
                                                  foRthe District of New Je’sey
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                                           Per:               /LLtk
                                                  Deputy Clerk
